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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

      UNITED STATES OF AMERICA,

                Plaintiff,
                                                  Case No. 19-cr-20831
                   v.
                                               U.S. DISTRICT COURT JUDGE
                                                  GERSHWIN A. DRAIN
           LAWRENCE RIDER,

           Defendant (D-1).
    ______________                  /

     OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR
                  SUMMARY JUDGMENT [#30]

                               I. INTRODUCTION

      Presently before the Court is Defendant Lawrence Rider-El’s pro se Motion

for Summary Judgment.1 See ECF No. 30-1, PageID.121. While titled as a Motion

for Summary Judgment, the Court construes Defendant’s Motion as a request to

dismiss the indictment for lack of jurisdiction. On August 31, 2020, Defendant’s

Counsel filed a Motion for Permission to Have Defendant Argue Motion for

Summary Judgment. See ECF No. 30. In the Motion, Defense Counsel states that

“concurrence for the filing of this motion was not denied, but concurrence was

denied with the requested relief in the attached substantive motion on the


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 Defendant Rider asserts that his surname is Rider-El. The Court will address him
as Mr. Rider-El, but that is no indication or legal conclusion that he is not the
person Lawrence Rider under indictment.
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Defendant’s behalf.” Id. at PageID.119. The Government filed its Response on

September 11, 2020. See ECF No. 32. The Court held a hearing on this matter on

October 20, 2020. For the reasons that follow, the Court will DENY Defendant’s

pro se Motion for Summary Judgment [#30].

                              II. FACTUAL BACKGROUND

         On December 17, 2019, Defendant Rider-El was charged in an indictment

with one count of conspiracy to commit mail and wire fraud in violation of 18 U.S.C.

§ 1349, one count of wire fraud under 18 U.S.C. § 1343, and one count of conspiracy

to use fire to commit a felony under 18 U.S.C. § 844(m). See ECF No. 1. The

indictment alleges that Defendant worked with others in an “arson-for-profit”

scheme that would “trick the insurance company into paying a false claim for fire

damage to a house the company insured.” Id. at PageID.4. Defendant has been

represented by appointed counsel John W. Brusstar as of January 10, 2020. See ECF

No. 6.

                                    III. DISCUSSION

         The Court will first address the Defendant’s attempt to file his pro se Motion

while represented by court-appointed counsel. The Court will then discuss the

underlying merits of Defendant’s arguments.

   A. Defendant Filed His pro se Motion While Represented by Counsel

         Defendant’s pro se Motion for Summary Judgment was attached as an exhibit


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to Defense Counsel’s Motion for Permission to Have Defendant Argue Motion for

Summary Judgment. ECF No. 30. The Government filed a Response on September

11, 2020 opposing Defendant’s Motion on both procedural and substantive grounds.

ECF No. 32. Defendant did not file a Reply.

      It is well-established that a criminal defendant accused of a felony has a

constitutional right under the Sixth Amendment to be represented by counsel and to

have counsel appointed for him if he cannot afford one, or, alternatively, to represent

himself in his proceedings. Faretta v. California, 422 U.S. 806 (1975). However,

a criminal defendant does not have a right to hybrid representation. See United

States v. Mosely, 810 F.2d 93, 98 (6th Cir. 1987); United States v. Curry, No. 13-

20887, 2015 WL 4425926, at *2–3 (E.D. Mich. July 17, 2015). “A court’s discretion

to reject hybrid representation may apply to the filing of motions.” Curry, 2015 WL

4425926, at *2 (citing United States v. Agofsky, 20 F.3d 866, 872 (8th Cir. 1994)).

      The Sixth Circuit has explained:

      The right to defend pro se and the right to counsel have been aptly
      described as “two faces of the same coin,” in that waiver of one right
      constitutes a correlative assertion of the other. While it may be within
      the discretion of a District Court to permit both a criminal defendant
      and his attorney to conduct different phases of the defense in a criminal
      trial, for purposes of determining whether there has been a deprivation
      of constitutional rights a criminal defendant cannot logically waive or
      assert both rights.

United States v. Mosely, 810 F.2d 93, 97 (6th Cir. 1987) (citing United States v.

Conder, 423 F.2d 904, 908 (6th Cir. 1970)). Courts within the Eastern District of

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Michigan have applied this analysis to a defendant’s filing of pro se motions. See,

e.g., Curry, 2015 WL 4425926, at *2; United States v. Darwich, No. 09-cr-20280,

2010 WL 4822891 (E.D. Mich. Nov. 22, 2010); United States v. Degroat, No. 97-

cr-20004-dt-1, 2009 WL 891699 (E.D. Mich. Mar. 31, 2009).

      Here, the Court will decline to apply the Sixth Circuit’s analysis in Mosley to

Defendant’s instant pro se Motion. Upon review of Defense Counsel’s Motion, it

appears that Defendant seeks permission to independently argue his dismissal

motion. ECF No. 30, PageID.118. On January 9, 2020, Defendant filed an “Annex”

that is supposedly related to the Defendant’s underlying pro se Motion. See ECF

No. 2. The following day, Magistrate Judge Steven Whalen entered an Order

Appointing a Federal Community Defender. ECF No. 4. The Court notes that

Defense Counsel filed his Notice of Attorney Appearance on January 14, 2020. ECF

No. 10.    However, Defendant filed his first Annex—which appears to be a

handwritten version of his re-filed Motion for Summary Judgment—on January 10,

2020. ECF Nos. 2, 30. Therefore, the Court lacks definitive knowledge that

Defendant was represented by Defense Counsel on the date he sought to make the

instant arguments. Additionally, Defense Counsel is aware of Defendant’s request

and seeks this Court’s permission to allow Defendant to argue his own pro se

Motion. Under these circumstances, the Court will accept Defendant’s hybrid

representation for the limited purpose of adjudicating the instant motion.


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       Therefore, the Court will address the merits of Defendant’s pro se Motion.

While titled as a Motion for Summary Judgment, the Court construes Defendant’s

Motion as a request to dismiss the indictment for lack of jurisdiction. Defendant

Rider-El argues that individuals who identify as a Moorish-American are exempt

from criminal prosecution because they are not subject to the jurisdiction of the

federal government. The Government correctly notes that Defendant fails to identify

himself as a Moor in the instant pro se Motion; Defendant does, however, make this

assertion in his January 9, 2020 Annex, and has repeated his citizenship claim in

prior hearings before this Court. See ECF Nos. 2, 32. The Court will assume that

Defendant presently identifies as Moorish-American.

       In his Motion, Defendant cites to the Moroccan-American Treaty of Peace

and Friendship of 1787 and argues that the Supremacy Clause of the United States

Constitution should be interpreted to signify that this Court does not have

jurisdiction over Defendant. ECF No. 30-1, PageID.122. Arguments similar to

those presently asserted by Defendant have been repeatedly reviewed and rejected

by courts as lacking merit or basis in law. See, e.g., United States v. Coleman, 871

F.3d 470, 476 (6th Cir. 2017) (labeling these legal arguments as “meritless

rhetoric.”).

       In Defendant Rider-El’s original Annex, he states at numerous points that he

is a citizen of the United States. See ECF No. 2, PageID.12. As such, “[a]ll citizens


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of the United States are subject to American laws.” Ward-El v. Barrett, No. 12-

14282, 2012 WL 5929928, at *4 (E.D. Mich. Nov. 27, 2012) (citing United States

v. James, 328 F.3d 953, 954 (7th Cir. 2003)). Further, even if Defendant Rider-El

did not identify as a United States citizen, he still “has a duty to conform to the laws

of the United States while residing here.” Id. (quoting Osiris v. Brown, No. 05–

3300, 2006 WL 208566, *1 (D.N.J. Jan. 24, 2006)); see also Allah El v. Dist.

Attorney for Bronx Cnty., No. 09–8746, 2009 WL 3756331, at *1 (S.D.N.Y. Nov.4,

2009) (“Petitioner's purported status as a Moorish-American citizen does not enable

him to violate state and federal laws without consequence”). The instant matter does

not present facts that indicate divergence from this well-established precedent is

warranted. Accordingly, this Court will not dismiss the three counts in Defendant

Rider-El’s Indictment.

                                  IV. CONCLUSION

      For the reasons discussed herein, the Court will DENY Defendant’s pro se

Motion for Summary Judgment [#30].

      IT IS SO ORDERED.



                                        s/Gershwin A. Drain________________
                                        GERSHWIN A. DRAIN
                                        UNITED STATES DISTRICT JUDGE

Dated: October 21, 2020


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                        CERTIFICATE OF SERVICE

          Copies of this Order were served upon attorneys of record on
             October 21, 2020, by electronic and/or ordinary mail.
                              /s/ Teresa McGovern
                                  Case Manager




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